      Case 5:21-cv-00844-XR Document 60 Filed 10/25/21 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et §
al.,                           §
Plaintiffs,                    §
                               §
                                       5:21-CV-0844-XR
v.                             §
                               §
GREGORY W. ABBOTT, et al.,     §
Defendants.                    §

OCA-GREATER HOUSTON, et al.,      §
     Plaintiffs,                  §
                                  §
                                       1:21-CV-0780-XR
v.                                §
                                  §
JOSE A. ESPARZA, et al.,          §
      Defendants.                 §

HOUSTON JUSTICE, et al.,          §
    Plaintiffs,                   §
                                  §
                                       5:21-CV-0848-XR
v.                                §
                                  §
GREGORY WAYNE ABBOTT, et al.,     §
    Defendants.                   §

LULAC TEXAS, et al.,              §
     Plaintiffs,                  §
                                  §
                                       1:21-CV-0786-XR
v.                                §
                                  §
JOSE ESPARZA, et al.,             §
      Defendants.                 §

MI FAMILIA VOTA, et al.,          §
     Plaintiffs,                  §
                                  §
                                       5:21-CV-0920-XR
v.                                §
                                  §
GREG ABBOTT, et al.,              §
     Defendants.
          Case 5:21-cv-00844-XR Document 60 Filed 10/25/21 Page 2 of 3




                      PROPOSED INTERVENOR-DEFENDANTS’
                   RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Proposed Intervenor-

Defendants Harris County Republican Party, Dallas County Republican Party, National

Republican Senatorial Committee, and National Republican Congressional Committee have no

parent company, and no publicly held corporation owns 10% or more of their stock.



October 25, 2021                                Respectfully submitted,

                                                /s/ John M. Gore
                                                John M. Gore
                                                E. Stewart Crosland*
                                                Stephen J. Kenny*
                                                JONES DAY
                                                51 Louisiana Avenue, N.W.
                                                Washington, D.C. 20001
                                                Phone: (202) 879-3939
                                                Fax: (202) 626-1700
                                                jmgore@jonesday.com
                                                scrosland@jonesday.com
                                                skenny@jonesday.com

                                                Counsel for Proposed Intervenor-Defendants

                                                *Pro hac vice applications forthcoming
             Case 5:21-cv-00844-XR Document 60 Filed 10/25/21 Page 3 of 3




                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 25, 2021, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will send notification of this filing to all counsel of

record.



                                                      /s/ John M. Gore
                                                      Counsel for Proposed Intervenor-Defendants
